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 r                       )    C.O                                      November 01, 2023

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 l
                                                                   WESTERN DISTRICT OF TEXAS
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                                                                 BY:                 MGR
                                                                                       DEPUTY
                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIViSION


     UNITED STATES OF AMERICA,               5:23-CR-00306-JKP
          Plaintiff,
                  V.
                                            Supersedln Indictment
                                            COUNT 1: 21 U.S.C. § 846, 841(aXl), &
                                            (b)(1)(A)/(C)
                                            Conspiracy to Possess with Intent to
                                            Distribute Fentanyl

                                           COUNT 2: 21 U.S.C. § 846, 841(a)(1), &
                                           (b)(1)(A)/(C)
                                           Conspiracy to Possess with Intent to
     I
     (9) ASHLEY MARIE ARIUAGA
                                           Distribute Methamphetanilne

          aka "ASHLEY ZAVALA"              COUNT 3: 18 U.S.C. § 1956(h).
                                           Conspiracy to Commit Money Laundering
                                           COUNT 4: 21 U.S.C. § 841(a)(1) & (b)(1)(A)
                                           & 18 U.S.C. § 2
                                           Possession with Intent to Distribute
                                           Methamphetamine
         Defendants.
                                           COUNTS 5-6: 21 U.S.C. § 841(a)(1) &
                                           (b)(l)(A)/   & 18 U.S.C. § 2
                                           Possession with intent to Distribute Fentanyl

                                           COUNT 7-8: 21 U.S.C. § 841(a)(1) &
                                           (b(1)A)/( & 18 U.S.C. § 2
                                           Possession with Intent to Distribute
                                           Methaniphetamine
                                           COUNT 9:18 U.S.C. § 1028(a)(7) &
                                           (b)(3)(A) & 18 U.S.C. § 2
                                           Identity Theft


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 THE GRAND JURY CEARGES:

                                           K11   tILflhJ
          1.     The               Drug Trafficking Organization          1)10) trafficked fentanyl,

 methamphetamine, and synthetic cannabinoids into Texas Department of Criminal Justice

 correctional facilities across Texas, using correctional officers and the mail to smuggle narcotics,

 cellphones, and other contraband into the correctional facilities,

          2.     The leader of the organization,                        is an inmate incarcerated at

 the 1DCJ James V Alfred Unit located in North Iowa Park, Texas. To direct and coordinate the

 organization's drug trafficking activity,            and other inmates, such as

                         used contraband cellphones that bad been smuggled into the correctional

 facilities.

         3.                   DTO obtained its narcotics from multiple different sources of supply.

 One source of supply,                   supplied the DTO with bulk amounts of liquid fentanyl and

 fentanyl-soaked paper sheets. Another, a Mexico-based source of supply, supplied the DTO with

 kilogram-quantities of fentanyl and methamphetamine.

         4.     To smuggle narcotics into correctional facilities, the             DTO employed

 correctional officers working at the facilities, such as

                                    The correctional officers would meet with non-incarcerated

 members of the            1)10, such as

 receive narcotics, celiphones, and other contraband. The correctional officers would then smuggle

 the narcotics and contraband into the correctional facilities whore they worked. These correctional

 officers were often paid thousands of dollars for their smuggling services.

         5.     During the dates in this Indictment, correctional officers employed by the

 DTO attempted to smuggle narcotics into TDCJ correctional facilities on the following occasions:
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         a. On November 29,2022, at

             delivered about 391 grams of methamphetamine to Correctional Officer #1 at a gas

             station in Karnes City, Tecas. Correctional Officer #1 intended to smuggle the

             methamphetainine into the John B. Connally Unit in Karnes County, Texas,

        b. On February 13, 2023, in a deal arranged by

                                             delivered about 738 grams of fentanyl-soaked paper

             sheets, which she had received from                             to Correctional Officer

                                         ;ntended to smuggle the fentanyl paper into the Alfred Unit.

        c. On May 28, 2023, at                              ,                         delivered about

             407.5 grams of methainphetamine, multiple celiphones, and $6,500 in United States

             currency to Correctional Officer                                  .          intended to

             smuggle the methamphetamine and celiphones into the Allred Unit.

        6.                  DTO also used the mail to smuggle narcotics and other contraband into

 prisons. Non-incarcerated members of the DTO, such as

 Ashley Marie Arriaga,                                                                would package

 drug-soaked sheets of paper and mail them to inmates who were members or customers of the

        DTO.

        7.      These non-incarcerated members of the DTO also prepared the drug-soaked sheets

 of paper, which would be soaked in fentanyl, synthetic cannabinoids, or a mixture of narcotics. To

 do so, these members used their residences as stash houses where they would soak sheets of paper

 with liquid narcotics and store bulk quantities of narcotics prior to distribution, fluting the dates

 of this Indictment, flEA agents seized the following narcotics from stash houses operated by the

        DTO:



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         a.    0'                , DEA agents seized 410.8 grams of paper sheets soaked with fentanyl

               and synthetic cannabinoids, 33 grams of paper sheets soaked with heroin and synthetic

               cannabinoids, 254.6 milliliters of liquid synthetic cannabinoids, fentanyl-sheet

               manufacturing materials, and envelopes addressed to TDCJ inmates from the residence

               of                                                               in

         b.    On                 DEA agents seized 111 grams of paper sheets soaked with fentanyl

               and synthetic cannabinoids, 91 grams of paper sheets soaked with heroin and synthetic

               cannabinoids, and fentanyl-sheet manufacturing materials from the residence ot

                            in

         8.         Inmate members of the          DTO would sell the narcotics smuggled into their

 correctional facilities to other inmates. Members of the           DTO could sell a single sheet of

 drug-soaked paper for up to $1,000 once smuggled into the correctional facility.

        9.          To receive payment for the narcotics that they distributed, inmate members of the

        DTO used peer-to-peer payment platforms, such as CashApp and Zelle. The inmates would

 then use these peer-to-peer payment platforms to transfer the narcotics proceeds to non-

 incarcerated members of the DTO who would deposit the funds into banks, During the dates in the

 Indictment,                            transferred about $332,854 02 to her JPMorgan Chase bank

 account from peer-to-peer payment platforms.

                                             COUNT ONE
                      [Conspiracy to Possess with Intent to Distribute Fentanylj
                            [21 U.S.C. § 846, 841(a)(1), & (b)(1)(A)/(C)J

        That beginning on or about January 2022, the exact date unknown, and continuing until the

 date of this indictment, in the Western District of Texas, the Eastern District of Texas, the Northern




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 District of Texas, the Southern District of Texas, and elsewhere, Defendants,

                        I


                  (9) ASHLEY MARIE ARRIA A a                        EY ZAVALA",
                       N                                     N
                                                                                                 with
 knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed
                                                                                                    to
 others, to commit the following offense against the United States: possession with intent

 distribute a mixture or substance containing a detectable amount of N-phenyl-N-[l - (2-

 phenylethyl)-4-piperidinylj propenamide, also known as fentanyl, a Schedule U Contmlled

 Substance, in violation   of Title 21, United States Code, Sections 846, 841(a)(1), & (b)(l)(A)/(C).

   QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

        The quantity of the mixture or substance containing a controlled substance involved in the

 conspiracy and attributable to each Defendant as a result of each Defendant's own conduct and as

 a result of the conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

       DEFENP                                                    QUANTITY


                                     400 grams or more of a mixture or substance containing a
                                     detectable amount of fentanyl;



                                     400 grams or more of a mixture or substance containing a
                                     detectable amount of fentanyl;

                                     400 grams or more of a mixture or substance containing a
                                     detectable amount of fentanyl;



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                                    400 grains or more of a mixture or substance containing a
I                                   detectable amount of fentanyl;


                                    400 grams or more of a mixture or substance containing a
I                                   detectable amount of fentanyl;

                                    400 grams or more of a mixture or substance containing a
I                                   detectable amount of fentanyl;


(9) Ashley Marie Arriaga            A mixture or substance containing a detectable amount of fentanyl;



                                    A mixture or substance containing a detectable amount of fentanyl;



    -     I                         A mixture or substance containing a detectable amount offentanyl;



                                    A mixture or substance containing a detectable amount of fentanyl;



                                    A mixture or substance containing a detectable amount of fentanyl;


  All in violation of Title 21, United States Code, Section 846.

                                         COUNT TWO
              [Conspiracy to Possess with Intent to Distribute MethamphetamineJ
                         [21 U S C § 846, 841(a)(1), & (b)(1)(A)/(C)J

         That beginning on or about January 2022, the exact date unknown, and continuing until the

 date of this indictment, in the Western District of Texas, the Northern District of Texas, and

 elsewhere, Defendants,

                           I


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 knowingly, intentionally, and unlawfully conspired, combined, confederated,
                                                                                        and agreed with

    others, to commit the following offense against the United States: possession
                                                                                            with intent to

 distribute a mixture or substance containing a detectable amount of methamphetamine,
                                                                                               a Schedule

 I! Controlled Substance, in violation of Title 21, United States Code, Sections 846,
                                                                                             841(a)(1), &

 (b)(1)(A)I(C).

      QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

               The quantity of the mixture or substance containing a controlled substance involved in the

 conspiracy and attributable to each Defendant as a result of each Defendant's own conduct and as

 a result ofthe conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

          DEKEND                                                     QUANTITY
                                                 .-
          -,




                                         A mixture of substance containing a detectable amount of
                                         inethamphetamine;



                                         50 grams or more of methaniphetarnine;



1                                                     or more of methamphetamine;



                                         50 grams or more of methamphetamine;



                                         50 grams or more of methamphetamine;



                                         50 grams or more of methamphctamine;



           All in violation of Title 21, United States Code, Section 846.

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                                         COUNT THREE
                            [Conspiracy to Commit Money Laundering]
                                       [18 U.S.C. § 1956(h)]

        That beginning on or about January 2022, the exact date unknown, and continuing until
                                                                                                   the

 date of this indictment, in the Western District of Texas, the Northern District of
                                                                                           Texas, the

 Southern District of Texas, and elsewhere, Defendants,

                        L




                    (9) ASHLEY MARIE              GA aka"       HLEY ZAVALA",

 knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed
                                                                                            together,

 and with others, to commit the following offenses against the United States in violation of Title

 18, United States Code, Section 1956, that is, to conduct and attempt to conduct a financial

 transaction affecting interstate and foreign commerce involving the proceeds of specified unlawful

 activity, that is, conspiracy to possess with intent to distribute fentanyl and methainphetamine,

 with the intent to promote the carrying on of said specified unlawful activity, in violation of Title

 18, United States Code, Section 1956(a)(l)(A)(i), all in violation of Title 18, United States Code,

 Section 1956(h).

                                          COUNT FOUR
                     [Possession with Intent to Distribute MethamphetamineJ
                       [21 U.S.C. § 841(a)(1) & (h)(1)(A) & 18 U.S.C. § 2J

        That on or about November 29,2022, in the Western District of Texas, Defendants,


                                                                    and


 aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

 with intent to distribute a controlled substance, which offense involved 50 grams or more of


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                                                                                 21, United States
 methamphetamine, a Schedule II Controlled Substance, in violation of Title

 Code, Sections 841(a)(l) & (b)(1)(A), and Title 18, United States Code, Section
                                                                                   2.

                                         COUNT FWE
                         [Possession with Intent to Distribute Fentanyl]
                      [21 U.S.0 § 841(a)(1) & (b)(1)(A) & 18 U.S.C. § 21

        That on or about February 12, 2023 through February 13, 2023, in the Western and

 Northern Districts of Texas, Defendants,

                       E

 aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

 with intent to distribute a controlled substance, which offense involved 400 grams or more of a

 mixture or substance containing a detectable amount of N-phenyl-N-[1- (2-phenylcthyl)-4-

 piperidinyl} propenamide, also known as fentany!, a Schedule 11 Controlled Substance, in violation

 of Title 21, United States Code, Sections 841(a)(l) & (b)(l)(A), and Title 18, United States Code,

 Section 2.

                                         COUNT SIX
                        [Possession with intent to Distribute Fentanylj
                     [21 U.S.C. § 841(a)(1) & (b)(1)(C) & 18 U.S.C. § 21

        That on or about February 12, 2023 through February 13, 2023, in the Western and

 Northern Districts of Texas, Defendants,

                                                                          N
 aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully, possess

 with intent to distribute a controlled substance, which offense involved a mixture or substance

 containing a detectable amount of N-phenyl-N-[1- (2-phenylethyl)-4-piperidinylj propenamide,

 also known as fentanyl, a Schedule H Controlled Substance, in violation of Title 21, United States


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                                                                      Code, Section 2.
  Code, Sections 841(a)(1) & (b)(l)(C), and Title iS, United States

                                        COUNT SEVEN
                    [Possession with Intent to Distribute Methamphetaniine]
                       121 U.S.C. § 841(a)(1) & (b)(1)(A)
                                                           & 18 U.S.C. § 2]

                                                                                    Districts of Texas,
         That on or about May27 to May 28, 2023, in the Western and Northern

  Defendants,

                     Li                                                     LII

                                                                                   unlawfully, possess
  aided and abetted by each other, and others, did knowingly, intentionally, and
                                                                                    grams or more of
  with intent to distribute a controlled substance, which offense involved 50
                                                                                         United States
  methamphetamine, a Schedule 11 Controlled Substance, in violation of Title 21,

  Code, Sections 841(a)(i) & (b)(l)(A), and Title 18, United States Code, Section
                                                                                     2

                                         COUNT EIGHT
                    fPossession with Intent to Distribute MethamphetamineJ
                       [21 U.S.C. § 841(a)(1) & (b)(1)(C) & 18 U.S.C. § 2]

         That on or about May 27 to May 28, 2023, in the Western and Northern Districts
                                                                                             of Texas,

  Defendant

                           a
  aided and abetted by others, did knowingly, intentionally, and unlawfully, possess with
                                                                                              intent to

                                                                                                     a
  distribute a controlled substance, which offense involved a mixture or substance containing

  detectable amount of methamphetamine, a Schedule II Controlled Substance, in violation of
                                                                                                  Title

  21, United States Code, Sections 841(a)(1)& (b)(l)(C), and Title 18, United States
                                                                                         Code, Section

  2

                                       COUNT NINE
                                       [Identity Theft]
                      118 U.S.C. § 1O28(a)(7 & (b)(3)(A) & 18 U.S.C. § 2]

         That on or about February 28,2023 to March 6, 2023, in the Western District of Texas
                                                                                                   and


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 the Northern District of Texas, Defendants,

                      U
                   (9) ASHLE    MARiE AREJAGA aka "ASHLEZAVALA",
                                                                             possess, and use, in or
 aided and abetted by each other, and others, did knowingly transfer,

 affecting interstate or foreign commerce, without lawful authority, a means
                                                                                   of identification of

                                                                                     knowing that the
 another person, that is, their name, date of birth, and social security number,
                                                                                   commit, or to aid or
 means of identification belonged to another actual person, with the intent to

 abet, or in connection with, any unlawful activity that constitutes a violation
                                                                                   of Federal law, that

 is, Conspiracy to Possess with Intent to Distribute a Controlled Substance, in violation
                                                                                            of2l U.S.C.

                                        committed to facilitate a drug   trafficking crime as defined
 § 846 & 841(a)(1), and the offense was

 under 18 U.S.C. § 929(aX2), in violation of Title 18, United States Code, Sections 1028(aX7),

 (b)(3)(A), & 2.

                          NOTICE OF PENALTY ENUANCEMENTS
                                          [21 U.S.C. § 851J

        Before the Defendant,                                               committed the offenses

 charged in this Indictment,                                      had a final conviction for a serious

 violent felony, as defined in 21 U.S.C. § 802(58), namely, Murder, under Texas Penal Code,

 Section 19.02(b)(l), for which he served more than 12 months of imprisonment.

        Before the Defendant,                                     committed the offenses charged in

 this Indictment,I                                 had a final conviction for a serious violent felony,

 as defined in 21 U.S.C. § 802(58), namely, Aggravated Robbery, under Texas Penal
                                                                                         Code, Section

 29.03, for which he served more than 12 months of imprisonment.

        Before the Defendant,                                                committed the offenses

 charged in this Indictment,                                             had a final conviction for a


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                                                                           Aggravated Robbery, under
  serious violent felony, as defined in 21 U.S.C. § 802(58), namely,
                                                                       12 months of imprisonment.
  Texas Penal Code, Section 29.03, for which he served more than

       NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR
                                                                                   FORFEITURE
                           [See Fed. R. Crini. P. 32.2]

                                                     I.


                                Drug Violations and Forfeiture Statutes
               [Title 21 U.S.C. § 846, 841(a)(1), and (b)(1)(A)I(C), subject to forfeiture
                            pursuant to Title 21 U.S.C. § 853(a)(1) and (2)1
                                                                                            States gives
            As a result of the foregoing criminal violations set forth above, the United
                                                                                            below upon
  notice to the Defendants of its intent to seek the forfeiture of the property described
                                                                                              (2), which
  conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C. § 853(a)(l) and

  states:

            Title 21 U.S.C. § 853. Criminal forfeitures
                    (a) Property subject to criminal forfeitures.
                    Any person convicted of a violation of this subchapter or subchapter II punishable
                    by imprisonment for more than one year shall forfeit to the United States,
                    irrespective of any provision of State law.--
                            (1) any property constituting, or derived from, any proceeds the person
                            obtained, directly or indirectly, as the result of such violation;
                            (2) any of the person's property used, or intended to be used, in any
                           manner or part, to commit, or to facilitate the commission of, such
                           violation;...
                                                  II.
                         Money Laundering Violation and Forfeiture Statutes
                     [Title 18 U.S.C. § 1956(h), subject to forfeiture pursuant to
                                      Title 18 U.S.C. § 982(a)(1)J

            As a result of the foregoing criminal violation set forth above, the United States of America

 gives notice to the Defendants of its intent to seek the forfeiture of the property described below

 upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 982(a)(l), which states:

            Title 18 U.S.C. § 982. Criminal forfeiture
            (a)(1) The court, in imposing sentence on a person convicted of an offense in violation of
             section 1956.. . shall order that the person forfeit to the United States any property, real
             or personal, involved in such offense, or any property traceable to such property.


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                                                 ill.
                         Identity Theft Violations and Forfeiture Statutes
                                                                                      to
             ITitle 18 U.S.C. § 1028(a)(7), tb)(3)(A), subject to forfeiture pursuant
                          Title 18 U.S.C. § 1028b)5) and 982(a12)B)J
                                                                                               States of
        As a result of the foregoing criminal violations set forth above, the United
                                                                                     property described
 America gives notice to the Defendant of its intent to seek the forfeiture of the
                                                                                          1028(b)(5) and
 below upon conviction pursuant to Fed. R. Crirn. P. 32.2 and Title 18 U.S.C. §

 982(a)(2)(B), which state:

        Title 18 U.S.C. § 1028 Fraud and related activity in connection with identification
        document, authentication features and information

        (b) The punishment for an offense under subsection (a) of tiiis section      is
             (5) in the case of any offense under subsection (a), forfeiture to the United State of
             any personal property used or intended to be used to commit the offense, and

        Title 18 U.S.C. § 982. CrimInal forfeiture

        (a)(2) The court, in imposing sentence on a person convicted of a violation of, or a
        conspiracy to violate
                                                 * **

             (B) section.,. 1028. . . of this title,
             shall order that the person forfeit to the United States any property constituting, or
             derived from, proceeds the person obtained directly or indirectly, as the result of
             such violation.

 This Notice of Demand for Forfiture includes, but is not limited to, the following:


        1. $6,500.00, more or less, in United States Currency;
        2. Any and all property, real or personal involved in or used in the commission of the
           criminal offenses.


        1.   Any and all funds in Texas Department of Criminal Justice Trust Fund Bank Account

        2. Any and all property, real or personal involved in or used in the commission of the
           criminal offenses.




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       1. $3,851.00, more or less, in United States Currency;
                                                                            commission of the
       2. Any and all property, real or personal involved in or used in the
          criminal offenses.


       3. $12,589.00, more or less, in United States Currency;
       4. Any and all property, real or personal involved in or used in the commission
                                                                                       of the
          criminal offenses.


       1. Any and all funds in Chase Bank Account Number xxxxxx7576;
       2. Any and all funds in Woodforest Bank Account Number xxxxxx2999; and
       3. Any and all property, real or personal involved in or used in the commission
                                                                                       of the
          criminal offenses.


       1. $3,851.00, more or less, in United States Currency;
       2. Any and all property, real or personal involved in or used in the commission of
                                                                                          the
          criminal offenses.




                                           FC)REPERSON OF THE GRAND JURY

       JAIME ESPARZA
       UNITED STATES ATTORNEY


 sy:1  FOR BRJA       OWINSKJ
       Assistant United States Attorney




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